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                  EXHIBIT 2
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                GOVERNMENT EXHIBIT ADDITIONS,
                MODIFICATIONS, AND DELETIONS

12/03/14   Deadline for Government Exhibits. The government provides an initial exhibit
           list and a disk containing its exhibits.
12/05/14   The government provides updated an exhibit list and disk with the following
           changes:

           Additional Exhibits:
                 113((A)(D) - Demonstrative of SR Payment System Ex.
                 201(G) - Photo Depicting DPR Icon on Chat
                 Ex. 294 - SSH Auth. Keys found on SR Marketplace Server
                 4 Exhibits in the 500 series
                 801 and 801(A) — Chart of Chicago UC purchases and lab test stip.

           Removed Exhibits:
                310A Email from Ulbricht to Rene Pinnell re: character references
                310B Email from Priceline.com to Ulbricht re: Priceline Itinerary for
                 Marigot, Dominica
                310C Email from Ulbricht to Rene Pinnell re: waves
1/02/14    The government provides new Rule 16 discovery: voicemails from Ross
           Ulbricht to Richard Bates (one of which later becomes GX 1005).
1/07/15    The government makes major revisions to exhibits, which are too numerous to
           be provided by email. The government does not provide any indication by
           email, phone or otherwise indicating which exhibits have been deleted, which
           have been modified or renumbered, and/or which descriptions were changed in
           the exhibit list.
1/08/15    The government provides new disk with 900 series added.
1/08/15    At defense counsel’s request, AUSA Serrin Turner sends an email explaining
           changes made to the exhibits contained in the new disks provided to counsel on
           1/07/15 and 1/08/15, which are as follows:

           New exhibits:
                 100A
                 100B
                 106(D)
                 107(D)
                 117A
                 118A-C


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              121A
              124
              128B-J
              129A
              131
              132
              201B, I, & J
              213
              214
              242
              290
              291
              301
              304
              311
              316
              500A
              501D
              600
              603/603A
              604/604A
              700-704 are new (703 is an updated version of what was formerly 700)
              804

              900 series is all new except for 920A-936. However, the gist of the new
               exhibits is the same as the exhibits formerly in the latter half of the 200
               series (which have been removed and replaced with these) – i.e.,
               screenshots and transactional data taken from the SR server.

              1000 series consists of google chats formerly in 300 series, except 1000
               is new

       Other changes:
              Metadata has been added to many of the exhibits in the 100 & 200 series
              Some of the exhibits have simply been renumbered

       Torchat changes:
              The torchats in the new list (222-232D) largely overlap with (and
               replace) the torchats that were included in the prior exhibit
               list. However, the chats have been broken up into smaller excerpts (or
               related sets of excerpts), with each made into a separate exhibit.
              Additionally, some material has been deleted from the chats; and some
               exhibits contain new chat excerpts not included in our earlier set of

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                  exhibits.

           Defense counsel also discovers that the government has removed 31 exhibits
           contained in their initial exhibit list, as follows:

           Removed Exhibits:
                111(D) — Example of BTC address and example of Private Key
                116(D) — Bestselling jewery
                116(E) — bestselling apparel
                116(F) — pill press.
                116(G) — book on silencers etc.
                116(H) Book excerpts on making c-4,
                122 — 4 steps to get customer help
                123 — A few words from DPR — now just DPR profile
                125EE — SR gets a new look
                125F — SR Forum Post : withdrawal problems;
                125M — Stealth mode feature for vendors
                125O — response to bitfool claiming DPR is doing this for the money
                126B — private messages between DPR, Cirrus, SSBD re: mod powers
                210 — removal of screenshot of Root directory on Ulbricbht laptop
                217 —Screenshot backup coin folder
                220 — Torchat buddy list
                240D — 1-1-12 journal entry from Laptop
                243 — Log of detected efforts of LE to investigate SR
                252 — Document regarding planned SR upgrades
                258 — Statement of DPR to SR community regarding DDOS attack on
                 website
                259 — Document detailing user purchase process on SR
                276 A-F
                277 A-D

           Defense counsel also discovers that the government has added the following
           additional exhibits, not noted by the government in the summary provided:

           Additional Exhibits:

                 200A — screenshot of Hash for Ross’s laptop
                 201 series — chosen a few new
                 222 — Complete log file of SSH torchat
                 231A-C — Torchats with Smed
                 602 — Server photograph
1/10/15    Government adds 3 new exhibits (GXs 226F, 125G and 212A), modifies and


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           makes additions to 3 others (GX 113: page added; GX 118B: metadata
           corrected; GX 936: messages from Silk Road forum added), and adds stickers to
           two existing exhibits (GXs 240C and 914)
1/12/15    Emails from Serrin Turner include 5 new exhibits and 13 modified exhibits:

           New Exhibits:
                 GX 111 (screenshot of crack cocaine page, which is the same as the first
                  page of GX 103B)
                 GX 133 (a screenshot of the DPR public key listed on the Silk Road
                  website)
                 3 demonstratives:
                    GX 106A - who.is lookup of nfl.com
                    GX 106B - who.is lookup of .onion site
                    GX 107A - close up of screen from end of GX 107 video)

           Modified Exhibits:
                 GX 102D: pages added
                 GX 212A: pages deleted
                 GX 291: redactions removed
                 GX 201B, 201H, 201I: timezone of metadata changed
                 GX 930 - 936: time zone changed to GMT
1/14/15    The government adds GXs 123, 228, 940H, and 940I, and provides digital
           copies to counsel at 10pm that night.

           Other exhibits were handed to counsel that morning in hard copy, with digital
           copies to be provided the following day by disk. We do not have a record of
           which exhibits were provided in hard copy only that day.
1/16/15    The government provides an updated exhibit disk, containing several exhibits
           not included in the government’s exhibit list prior to 1/14/15.
1/20/15    12:10 a.m.: The government provides defense counsel with 17 new exhibits
           (GXs 205A, 212A, 212B, 226G, 226H, 226I, 227E, 227F, 227G, 227H, 228,
           240D, 241, 280, 295, 296 and 502), and notifies counsel that it will be
           reformatting the metadata for all of the exhibits in the 200 series, provided on a
           disk reflecting changes to all of those exhibits the morning of 1/21/15, in court.

           During court, the government provides defense counsel with two new exhibits
           (GX 149 and GX 150), both of which were admitted in court that same day, and
           a modified version of GX 296. Electronic copies of these exhibits and an
           updated exhibit list are provided to counsel post court, at 6:21 p.m.
1/21/15    9:38 a.m. (after the court day has commenced): Government provides defense

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           counsel by email with 20 new exhibits (GXs 297, 298, 318-327, 1006-1008,
           806, 808, and 809A), and two modified exhibits (GXs 228 and 314).
           The original email was apparently sent the night before but defense counsel did
           not receive it, possibly due to the size of the attachments.

           9:31 p.m.: The government adds an exhibit (GX 328) and adds metadata to an
           additional four exhibits (GXs 501A through 501D).
1/25/15    The government produces to defense counsel 23 entirely new or modified
           exhibits (GXs 227I, 264, 312, 312C, 320, 321, 322, 324, 325, 329, 330, 331,
           333A, 333B, 334, 340A, 340B, 703, 808, 936, 950, 960, and 961), including a
           348KB excel spreadsheet (GX 703).

           10:17 p.m.: The government provides an additional 3MB excel spreadsheet
           containing a wallet analysis conducted by Former Special Agent Yum, that the
           government intended to produce as 3500 material and from which it was first
           preparing a series of summary exhibits that it intended to introduce during
           former SA Yum’s testimony.
1/26/15    8:30 a.m.: The government emails defense counsel a new exhibit (GX 311) and
           a modified version of GX 334.
1/28/15    8:56 a.m.: The government sends, by email, an additional 18 new exhibits (GXs
           606, 607, 608, 609, 610, 620, 620A, 620B, 620C, 630, 631, 1100, 1101, 1102,
           1200, 1201, 1202 and 1203)

           9:20 a.m.: The government provides, by email, two new exhibits (GXs 1204 and
           1205) and a modified version of GX 1203, first provided to defense counsel
           earlier that morning.

           10:59 p.m.: The government provides, by email, an additional exhibit (GX
           605A) and a modified version of GX 620A, and advises counsel that it is adding
           GX 650 and 651, copies of which were only provided to Joshua Horowitz, Esq.,
           by disk, that Sunday, January 25, 2015.




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